      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 1 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT

                                                                                       EXHIBIT A

                 IN THE IOWA DISTRICT COURT OF SCOTT COUNTY

                                             CVCV301038
 YESENIA MONTELONGO, on behalf of Case No.: ______________
 herself and all others similarly situated,

        Plaintiff,

 v.                                                 CLASS ACTION PETITION AND JURY
 ST. AMBROSE UNIVERSITY,                            DEMAND

        Defendant.


                                  CLASS ACTION PETITION
       Plaintiff Yesenia Motelongo brings this action on behalf of herself and all others similarly

situated against Defendant St. Ambrose University (“Defendant”). Plaintiff alleges as follows

based on her own personal knowledge and experiences as to the facts specifically pertaining to

herself and based upon information and belief, further to the investigation of her counsel, as to the

remaining allegations. Plaintiff believes that a reasonable period of discovery will reveal

substantial evidentiary support for the facts alleged herein.

                                  NATURE OF THE ACTION

       1.      St. Ambrose University, a private university with a total enrollment of more than

2,200 students, offers undergraduate major concentrations in 52 academic areas, as well as a number

of graduate-level degree programs.
       2.      Ms. Montelongo brings this class action on behalf of herself and all other similarly

situated students (the “Class”) who contracted with the University for live, in-person, on-campus

instruction and meaningful access to professors and on-campus facilities and events—none of which

the University actually provided to them for approximately half of the Spring 2020 academic term.

       3.      Specifically, after Plaintiff and the Class paid tuition and fees for the Spring 2020

academic term in exchange for Defendant’s provision of these material in-person components of their

educational experience, St. Ambrose University responded to the Coronavirus (“COVID-19”)
pandemic by shutting the campus down and shifting entirely to online “remote” learning—depriving
      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 2 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




Plaintiff and all Class members of the in-person classes, services and on-campus college experiences

for which they had bargained and, egregiously, without refunding any of the tuition or fees they had

paid (in advance) to receive those benefits for the entirety of the semester.

        4.      Simply put, Plaintiff and the members of the Class did not agree, and never would

have agreed, to pay over $16,000 in tuition and fees for a semester of “virtual” college—and yet that

is exactly what the St. Ambrose University provided them, without refunding any of the tuition or

fees they had paid for the in-person classes, services and experiences that they never received.

        5.      Notably, Plaintiff does not contend that she received a comparatively inferior

instruction, though it is certain that she did. She similarly does not challenge St. Ambrose University’s

decision to shift to remote learning. Rather, Plaintiff brings this action because the value of the remote

learning experience she and her fellow class members received is substantially less than the value of

the on-campus experience St. Ambrose University promised and that Plaintiff paid for in tuition and

fees. Plaintiff and class members, through this suit, seek a pro rata refund of the portion of fees and

tuition that was paid to St. Ambrose University during the time period that the campus was closed

and classes went online.

        6.      Plaintiff entered into a contractual agreement with St. Ambrose University to

pay tuition and fees for the Spring semester of 2020 in exchange for, inter alia, access to campus

facilities and activities, and in-person instruction in a physical classroom. Plaintiff and class members
fulfilled their obligations when they paid the required tuition and mandatory fees for the Spring

semester of 2020. In fact, Plaintiff paid higher tuition and fees when she enrolled in St. Ambrose

University’s on-campus program, rather than its online courses which cost substantially less.

However, Plaintiff and class members did not receive the services and experiences they paid for, and

which were promised, after St. Ambrose University transitioned to remote learning.

        7.      Plaintiff and the Class members entered into contractual agreements with the St.

Ambrose University whereby Plaintiff would provide payment in the form of tuition and fees and

Defendant, in exchange, would provide in-person educational services, experiences, opportunities and
other related services.


                                                    2
      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 3 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




       8.      The terms of the contractual agreement were set forth in publications from St.

Ambrose University, including in the St. Ambrose University Course Catalog (the “Course Catalog”).

The Course Catalog is directed at students, including Plaintiff and Class Members.

       9.      The Course Catalog clearly and unequivocally implied that the courses described

therein would be conducted in-person. The Course Catalog also touts the many resources and

facilities available to students on-campus, which also implies in-person participation.

       10.     Defendant’s other publications, including brochures, marketing materials as well as

its website, also make representations about in-person instruction, on-campus experiences, internships

and facilities; all of which created an obligation on the part of Defendant to provide in-person

educational services for Plaintiff and the Class Members.

       11.     On March 12, 2020, Defendant announced that, because of the COVID-19 pandemic,

all previously live classes would be conducted remotely beginning March 29, 2020. St. Ambrose

University subsequently announced that remote learning would continue through the remainder of the

Spring 2020 semester.

       12.     As a result of the closure of its facilities, Defendant did not deliver the educational

services, facilities, access and/or opportunities for which Plaintiff and the Class Members contracted

and paid.

       13.     The online learning options offered to St. Ambrose University students were subpar
in practically every aspect, including the lack of facilities, materials and access to faculty. Students

were deprived of the opportunity for collaborative learning and in-person dialogue, feedback and

critique. The remote learning options were in no way the equivalent of the in-person education for

which Plaintiff and Class Members contracted and paid.

       14.     Defendant refuses to refund or to reimburse Plaintiff and the Class any portion of the

fees and tuition they paid for in-person education and services that are no longer being provided.

       15.     Defendant did not provide in-person education, experiences or related services for

approximately 50% of the Spring 2020 Semester. Plaintiff did not enter into an agreement with




                                                   3
      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 4 of 28
                  E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




Defendant for online education, but rather sought an in-person education from Defendant’s

institution.

        16.       Plaintiff and the Class Members are therefore entitled to a refund of tuition and fees

for in-person educational services, facilities, access and/or opportunities that Defendant has not

provided. Even if Defendant claims it did not have a choice in cancelling in-person classes, it

nevertheless has improperly retained funds for services it did not provide.

        17.       By this class action lawsuit Plaintiff seeks, for herself and all others similarly situated

(as defined below), Defendant’s disgorgement of the pro-rated portion of tuition and fees,

proportionate to the amount of time that remained in the Spring 2020 Semester when classes moved

online and campus services ceased being provided.

                                             THE PARTIES

        18.       Plaintiff Yesenia Montelongo is a citizen and resident of West Liberty, Iowa. During

the Spring 2020 Semester, Plaintiff was an undergraduate student at St. Ambrose University majoring

in social work.

        19.       Defendant St. Ambrose University is a private university with its principal place of

business in Davenport, Scott County Iowa.

                                    VENUE AND JURISDICTION

        20.       This Court has personal jurisdiction over St. Ambrose University because it is located
in Davenport, Iowa, it is headquartered and regularly conducts business in Iowa and otherwise has

sufficient minimum contacts with Iowa to justify the exercise of personal jurisdiction.

        21.       Venue is appropriate in Scott County, Iowa because Defendant is located within Scott

County, Iowa. And, on information and belief, events and transactions causing the claims herein,

including Defendant’s decision-making regarding its refund policy challenged in this lawsuit,

occurred within Scott County, Iowa.

                                      FACTUAL ALLEGATIONS

I.      Plaintiff and Class Members Paid Tuition and Fees for the Spring 2020 Semester




                                                      4
      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 5 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        22.    Plaintiffs and Class Members are individuals who paid the cost of tuition and other

mandatory fees for the Spring 2020 Semester at St. Ambrose University.

        23.    Spring 2020 Semester classes at St. Ambrose University began in or about January

2020, and final exams for the Semester were scheduled to conclude in May 2020.

        24.    Approximate tuition costs at St. Ambrose University for the Spring 2020 Semester are

$16,645 for full-time undergraduate students.

        25.    St. Ambrose University students who elect to attend in-person also pay mandatory

fees for the Spring 2020 Semester. By way of example, undergraduate students at St. Ambrose

University paid mandatory fees of approximately $140 for Spring Semester 2020.1

        26.    Plaintiff paid Defendant tuition for the Spring 2020 Semester. Plaintiff also paid

various fees to Defendant for the Spring 2020 Semester. Plaintiff has not been provided a refund of

any of the tuition or fees that she paid for the Spring 2020 Semester, despite the fact that in-person

classes were not held after March 29, 2020.

II.     The Course Catalog for the Spring 2020 Semester is Replete with Promises and
        Representations Regarding In-Person Instruction and Activities
        27.    When Plaintiff and Class Members sought to enter into a contractual agreement with

Defendant for the provision of educational services for the Spring 2020 Semester, Plaintiff and Class

Members viewed the Course Catalog to make specific course selections prior to registering and

paying for selected courses.
        28.    The Course Catalog provided Plaintiff and Class Members with information regarding

the courses offered, the relevant departments, credit hours, classroom activities and the manner in

which each course is to be held. The Course Catalog for the Spring 2020 Semester at St. Ambrose

University contains numerous promises and representations relating to in-person instruction and

activities.


1
       The tuition and fees described herein are provided by way of example; total damage
amounts—which may include other fees not listed herein but that were not refunded—will be
proven at trial.



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      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 6 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        29.     For example, the Course Catalog touts the Student Life and Support Services offered

by St. Ambrose University, representing that the purpose of in-person, on-campus student life “is to

augment academic life by encouraging growth in the co-curricular and extra-curricular areas so that

students may enjoy the total educational process.” Through the Course Catalog, St. Ambrose

University promises that “[r]esources are available to help meet students’ various needs—whether

informational, health, psychological, financial, vocational, academic, social, or spiritual”:2




        30.     In fact, in the Course Catalog St. Ambrose University states that in-person, on-campus

student activities “supports the educational goals and mission of the university by promoting a sense

of community integration, student self-worth and self- confidence through campus involvement:”3




2
      https://www.sau.edu/academics/academic-resources/registrar/university-catalog;             2019-
2021 Course Catalog at 11.
3
      https://www.sau.edu/academics/academic-resources/registrar/university-catalog;             2019-
2021 Course Catalog at 13.



                                                   6
        Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 7 of 28
                  E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




          31.     The Course Catalog also makes representations about the resources available to

students on campus, including the library:4




          32.     The Course Catalog also promises students access to the wellness and recreation

center as part of a “wellness programs for all students” which St. Ambrose University represents will

help students “enhance skills, foster life-long friendships, and teach understanding of true

sportsmanship while promoting healthy lifestyle choices”:5




          33.     The course descriptions likewise make representations about in-person classroom

    instruction. For example, in “SWK 400. Field Instruction I• 3 credits” for the Spring 2020 Semester
    St. Ambrose University promises an “experience takes place in a community agency and provides

    students with opportunities to integrate classroom learning in a supervised practice setting and to

    demonstrate social work competency development.”6

4
      https://www.sau.edu/academics/academic-resources/registrar/university-catalog;            2019-
2021 Course Catalog at 6.
5
      https://www.sau.edu/academics/academic-resources/registrar/university-catalog;            2019-
2021 Course Catalog at 13.
6
      https://www.sau.edu/academics/academic-resources/registrar/university-catalog;            2019-
2021 Course Catalog at 122.



                                                    7
       Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 8 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        34.    Plaintiff hereby incorporates the Course Catalog into the Complaint by reference.

        35.    Plaintiff’s field of study at St. Ambrose University relies extensively on in-person

instruction, feedback, and a high level of collaboration, which is made more feasible through in-class

instruction.

        36.    In-person classes are critical to Plaintiff’s degree program because it is necessary for

students in the program to a conduct in-person exercises, and to engage in dialogue during class and

access professors outside of class, in order to adequately learn and fully engage with the material.

III.    In Response to COVID-19, St. Ambrose University Was Closed and all In-Person
        Classes were Cancelled
        37.    On or about March 12, 2020, St. Ambrose University announced that, because of the

global COVID-19 pandemic, effective March 29, 2020, all in-person classes would be suspended and

that all classes would continue to be held in online/remote format for the remainder of the Spring

2020 Semester.

        38.    As a result of the closure of its campus and facilities, Defendant has not delivered the

educational services, facilities access and/or opportunities for which Plaintiff and the Class Members

contracted and paid.

        39.    Plaintiff and the Class Members are therefore entitled to a refund of all tuition and

fees for services, facilities access and/or opportunities that Defendant has not provided.

        40.    Even if Defendant claims it did not have a choice in cancelling in-person classes, it
nevertheless has improperly retained funds for access to certain amenities and services it

unquestionably did not provide.

        41.    Plaintiff and the Class Members did not choose to attend an online institution of higher

learning, but instead chose to attend Defendant’s institution and enroll and/or pay for enrollment on

an in-person basis.

        42.    Notably, Defendant offers both in-person and online learning options. These options

are not interchangeable. Instead, Defendant’s entire academic structure and its students’ educational
experiences are built around the distinction between Defendant’s in-person and its online program.



                                                   8
      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 9 of 28
                 E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




          43.    Students are given the option of which program they choose to enroll and, at the time

of application, students make clear that they are seeking to contract with Defendant for an in-person

educational experience.

          44.    The online and the in-person programs also, not surprisingly, charge different tuition

amounts. Undergraduate and graduate students attending the in-person program pay significantly

more for live classroom instruction and for access to on-campus facilities and services.

          45.    The cost of attending Defendant’s in-person program is more than twice as much as

the cost of taking courses on-line. Defendant’s tuition and fee structure demonstrate that in-person

learning and on-campus experiences have a greater value than the on-line, remote learning experience

that Defendant offered beginning Spring Semester 2020. For example, St. Ambrose University

charges $475 per credit to online students while charging students who attend in-person $970 per

credit—more than twice as much.7




7
          Cf. https://www.sau.edu/cost-and-aid/tuition-and-fees and https://online.sau.edu/tuition-
costs/.



                                                   9
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 10 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




       46.     Defendant markets on its website the on-campus, in-person experience at St. Ambrose

University as a benefit of enrollment and specifically markets the benefits of classroom learning,

“hands-on learning,” small class size, personal interaction with professors, and other academic

opportunities, as a benefit of the on-campus learning experience: 8




       47.     St. Ambrose University markets to prospective students by promising “small class

sizes [which] allow faculty to get to know you and your goals, aspirations, interests, and challenges”

and that faculty members will “walk alongside you on your educational journey”:9




8
       https://www.sau.edu/about-sau/why-sau
9
       https://www.sau.edu/about-sau/why-sau/academic-accessibility



                                                 10
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 11 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




       48.     In its marketing representations St. Ambrose University emphasizes the benefits of

experiencing an in-person educational experience. Defendant affirms that they “believe education is

strengthened when it is taught by people you know,” and that prospective students can expect a “close-

knit academic community” and “one-on-one attention”:10




10
       https://www.sau.edu/about-sau/why-sau/dedicated-faculty



                                                 11
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 12 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        49.     Defendant acknowledges the value of community, connections with other students

and faculty and the on-campus experience as a benefit that students will receive if they choose to

attend in-person. St. Ambrose University emphasizes the value of “collaborating on campus-wide

intercultural events and activities that prepare you to become a productive citizen in a diverse

world”:11




        50.     In fact, Defendant markets the campus to prospective and returning undergraduate

students by promising that they will have the opportunity to “join or lead a student club or

organization” that will enable them to “work[] side-by-side with [their] peers” and that this will

deepen students’ “drive and focus on academics, your career, faith and spirituality, social justice,

service to others, or a personal passion”:12




11
        https://www.sau.edu/about-sau
12
        https://www.sau.edu/student-life/clubs-and-organizations




                                                12
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 13 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




       51.     Defendant represents that students who choose to enroll and pay for an on-campus

education will have an on-campus experience enriched by personal interactions with other students:13




13
       https://www.sau.edu/academics/academic-resources/student-success-center



                                                13
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 14 of 28
                E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        52.     Defendant also represents that access to on-campus activities and facilities are a part

of the in-person educational “experience” and tells students that these resources will “enhance your

skills” and “foster life-long friendships”:14




        53.     Defendant even represents that it has the “best college housing in the Midwest” and

that the goal of its in-person education experience is to foster community, inviting prospective and

returning students to “join in the recreational, educational, spiritual, and cultural programs that define

and grow our community”:15




        54.     Plaintiff specifically bargained to receive these and other educational benefits and in

fact paid higher costs for the benefits of an in-person education.




14
        https://www.sau.edu/student-life/wellness-and-recreation
15
        https://sau.edu/student-life/residence-life



                                                   14
      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 15 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        55.     The online learning options offered to St. Ambrose University students after

Defendant transitioned to remote learning in Spring 2020 was subpar in practically every aspect and

a shadow of what student were originally promised; from the lack of facilities, materials and access

to faculty, among other things.

        56.     This is particularly true for students like Plaintiff, who is pursuing a degree in social

work, because she is unable to receive in-person instruction, feedback or critique. St. Ambrose

University promises its Social Work majors “professional training” and “placement in a community

agency for 400 hours.”16

        57.     After all classes at St. Ambrose University went remote, however, Plaintiff was unable

to collaborate or to use on-campus resources in the manner necessary for success in her field of study,

and was unable to receive and/or benefit from the in-person interaction with professors and guest

lecturers that she was promised and had expected at the time of enrollment for the Spring 2020

Semester. Moreover, office hours for professors are essentially non-existent given that professors are

unable to see their students to provide in-person assistance.

        58.     The remote learning options are in no way the equivalent of the in-person education

for which Plaintiff and Class Members contracted and paid. The remote education provided was worth

nowhere close to the amount charged to Plaintiff and Class Members for Spring 2020 Semester

tuition. The tuition and fees for in-person instruction at St. Ambrose University are higher than tuition
and fees for other online institutions because such costs cover not only the academic instruction at St.

Ambrose University, but encompass an entirely different experience which includes but is not limited

to:

                •       Face to face interaction with professors, mentors, and peers;

                •       Access to facilities such as libraries, laboratories, and study rooms;
                •       Student governance and student unions;


16
      https://www.sau.edu/academics/academic-resources/registrar/university-catalog;              2019-
2021 Course Catalog at 62.



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     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 16 of 28
               E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




               •       Extra-curricular activities, groups, intramural sports, etc.;
               •       Student art, cultural, and other activities;
               •       Social development and independence;
               •       Hands on learning and experimentation;
               •       Networking and mentorship opportunities.
        59.    Through this lawsuit Plaintiff seeks, for herself and on behalf of the Class Members,

disgorgement of the pro-rated portion of tuition and fees paid to Defendant, proportionate to the

amount of time that remained in the Spring 2020 Semester when classes moved online and campus

services ceased being provided. Plaintiff seeks return of these amounts on behalf of herself and the

Class as defined below.


                          CLASS REPRESENTATION ALLEGATIONS

        60.    Plaintiff brings this action on behalf of herself and a Class defined as follows:

               All persons who paid Defendant, in whole or in part, tuition, fees,
               and/or room and board, for the Spring 2020 semester, for in-person
               educational services which Defendant failed to provide, and whose
               tuition, fees, and/or room and board were not refunded.

Excluded from the Class is Defendant, any entity in which Defendant has a controlling interest,

and Defendant’s legal representatives, predecessors, successors, assigns and employees. Further

excluded from the Class is this Court and its employees. Also excluded from the class are students

who enrolled in education programs that Defendant completely and exclusively offered online

prior to the closure of in-person classes. Plaintiff reserves the right to modify or amend the Class

definition including through the creation of sub-classes if necessary, as appropriate, during this

litigation.


        61.    The definition of the Class is unambiguous. Plaintiff is a member of the Class she

seeks to represent. Class Members can be notified of the class action through contact information

and/or address lists maintained in the usual course of business by Defendant.


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     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 17 of 28
                E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




       62.      Numerosity. Class Members are so numerous and geographically dispersed that their

individual joinder of all Class Members is impracticable, thus satisfying the requirement of Rule

1.261(1). The precise number of Class Members is unknown to Plaintiff but may be ascertained from

Defendant’s records. However, given that over 2,200 students are enrolled at Defendant’s institution

in a given year, the number of Class Members is expected to exceed 2,000 and thus greatly exceeds

a number where joinder would be possible. Class Members may be notified of the pendency of this

action by recognized, Court-approved notice dissemination methods, which may include U.S. Mail,

electronic mail, Internet postings, and/or published notice.

       63.      Common Questions of Law or Fact. As required by Rule 1.261(2), there are questions

of law or fact common to the Class. These common questions of law or fact include:

             a. Whether Defendant engaged in the conduct alleged;

             b. Whether Defendant’s actions deprived Plaintiff and the Class Members of benefits for

                which they already paid, including the benefit of in-person instruction, housing, meals,

                and student activities;

             c. Whether Defendant has a policy and/or procedure of denying refunds, in whole or in

                part, to Plaintiff and the Class Members;

             d. Whether Defendant breached identical contracts with Plaintiff and the Class

                Members;

             e. Whether Defendant violated the common law of unjust enrichment;

             f. Whether Defendant converted Plaintiff’s and the Class Members’ refunds and/or

                rights to refunds; and

             g. The nature and extent of damages and other remedies to which the conduct of

                Defendant entitles Class Members.




                                                  17
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 18 of 28
                 E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




Thus, Defendant engaged in a common course of conduct giving rise to the legal rights sought to

be enforced by the Class Members. Similar or identical legal violations are involved. Individual

questions pale by comparison to the numerous common questions that predominate. And the

injuries sustained by the Class Members flow, in each instance, from a common nucleus of

operative facts—Defendant’s campus closure and student evictions, its complete transition to

online classes, and Defendant’s refusal to fully refund tuition, fees and/or room and board.


        64.      Fair and Efficient Adjudication of a Controversy. A class action satisfies the

requirement of Rules 1.262(2)(b), because a class action will permit the fair and efficient adjudication

of the controversy. Plaintiff satisfies the criteria enumerated in Rule 1.263 for determining this issue,

inter alia as follows:

              a. First, joint and common interests exist among members of the Class,

                 per the criteria of Rule 1.263(1)(a), because they have all paid tuition

                 and fees to Defendant and been damaged by Defendant through its

                 practice of denying refunds to Class Members for tuition and fees paid

                 for the portion of the Spring 2020 term that was held remotely.

                 Moreover, the prosecution of separate actions by members of the Class

                 would create the risk of inconsistent or varying adjudications with

                 respect to individual members of the Class that would establish

                 incompatible standards of conduct for Defendants per Rule

                 1.263(1)(b). Furthermore, there are the common questions of whether,

                 inter alia, Defendant’s actions deprived Plaintiff and the Class

                 Members of benefits for which they already paid, including the benefit

                 of in-person instruction, housing, meals, and student activities, and



                                                   18
Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 19 of 28
       E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




       whether such conduct breached the contract between Defendant and

       the Class or, alternatively, constituted unjust enrichment. The

       adjudication of these questions with respect to individual members of

       the Class as a practical matter would be dispositive of the interests of

       the Class as a whole per the criteria in Rule 1.263(1)(c). Finally, the

       common questions predominate over any individual questions per the

       criteria in Rule 1.263(1)(e).

    b. Second, the class action device is superior to other available means for

       the fair and efficient adjudication of the claims of Plaintiff and the

       Class Members. The relief sought per individual members of the Class

       is small given the burden and expense of individual prosecution of the

       potentially extensive litigation necessitated by the conduct of

       Defendant. It would be virtually impossible for the Class Members to

       seek redress individually. Even if the Class Members themselves

       could afford such individual litigation, the court system could not.

       Absent a class action, Class members will continue to suffer harm and

       Defendant’s misconduct will proceed without remedy. These

       circumstances satisfy the criteria in Rule 1.263(1)(f),(g),(m).

    c. Third, there are no unusual management difficulties that would

       preclude class treatment. The Class treatment of common questions

       of law and fact is also superior to multiple individual actions or

       piecemeal litigation in that it conserves the resources of the courts and

       the litigants, and promotes consistency and efficiency of adjudication.




                                          19
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 20 of 28
                 E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




                 Individual litigation of the legal and factual issues raised by the

                 conduct of Defendant would increase delay and expense to all parties

                 and to the court system. The class action device presents far fewer

                 management difficulties and provides the benefits of a single, uniform

                 adjudication, economies of scale, and comprehensive supervision by

                 a single court. It is also desirable to concentrate the litigation of the

                 aims of Plaintiff and Class Members in this forum given that

                 Defendant is located within this judicial district and discovery of

                 relevant evidence will occur within this district. Given the similar

                 nature of Class Members’ claims and the absence of material

                 differences in the state statutes and common laws upon which the

                 Class Members’ claims are based, a nationwide Class will be easily

                 managed by the Court and the parties. Moreover, Defendant has acted

                 or refused to act on grounds generally applicable to Plaintiff and the

                 Class Members, making final injunctive relief and declaratory relief

                 regarding the Class appropriate.

              d. Fourth, there are no other known actions brought by Class members

                 that are not representative parties and thus they have no apparent

                 substantial interest in individually controlling the prosecution of a

                 separate action.

        65.      Adequate Representation. In accordance with Rule 1.262(2)(c) and 1.263(2), Plaintiff

and Plaintiff’s counsel will fairly and adequately protect the interests of the Class. Plaintiff is familiar

with the basic facts that form the bases of the Class Members’ claims. Plaintiff’s interests do not




                                                    20
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 21 of 28
                E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




conflict with the interests of the other Class Members that she seeks to represent. Indeed, Plaintiff’s

claims are typical of the claims of the other Class Members in that, among other things, all Class and

Subclass members were similarly situated and were comparably injured through Defendant’s

wrongful conduct as set forth herein. Plaintiff was a student enrolled at St. Ambrose University in the

Spring 2020 term, and Plaintiff paid Defendant the cost of tuition and fees for her education at St.

Ambrose University. Like other Class Members, Plaintiff was deprived of the benefit of her bargain

when students were instructed to leave Defendant’s campus, forced to take online classes, and were

completely or partially denied a refund for tuition, fees, and/or room and board. Further, there are no

defenses available to Defendant that are unique to Plaintiff. Plaintiff has retained counsel competent

and experienced in class action litigation and Plaintiff and her counsel intend to prosecute this action

vigorously. Plaintiff’s counsel has successfully prosecuted complex class actions, including consumer

protection class actions. Plaintiff and Plaintiff’s counsel will fairly and adequately protect the interests

of the Class Members.

                                       CLAIMS FOR RELIEF


                                           CLAIM I
                                       Breach of Contract
          (By Plaintiff, Individually and on Behalf of the Class, Against Defendant)
        66.     Plaintiff restates and re-alleges, and incorporates herein by reference, the preceding

paragraphs as if fully set forth herein.

        67.     Plaintiff and Class Members entered into identical, binding contracts with Defendant.

        68.     When Plaintiff and Class Members sought to enter into a contractual agreement with

Defendant for the provision of educational services for the Spring 2020 Semester, Plaintiff and Class

Members viewed the Course Catalog to make specific course selections prior to registering and

paying for selected courses.

        69.     Defendant’s Course Catalog constitutes an offer to enter a contractual agreement.




                                                    21
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 22 of 28
                E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




          70.   The Course Catalog provided Plaintiff and Class Members with information regarding

the courses offered, the relevant department, credit hours, classroom activities and the manner in

which each course is to be held.

          71.   Plaintiff’s and Class Members’ payment of tuition and fees were intended to cover in-

person education, experiences and services for the entirety of the Spring 2020 Semester.

          72.   As part of the contract, and in exchange for the aforementioned consideration,

Defendant promised to provide certain services, all as set forth above.

          73.   Plaintiff and members of the Class fulfilled their end of the bargain when they paid

monies due for Spring 2020 Semester tuition. Tuition for Spring 2020 Semester was intended to cover

in-person educational services from January through May 2020. In exchange for tuition monies paid,

Plaintiff and members of the Class were entitled to in-person educational services through the end of

the Spring 2020 Semester.

          74.   Defendant materially breached the parties’ contractual agreement by failing to provide

in-person educational services for the entirety of the Spring 2020 Semester. The provisions of the

contract breached by Defendant include, but are not limited to the provision setting forth the details

of in-person educational services as described in the Course Catalog for the Spring 2020 Semester as

well as other publications, including brochures, marketing materials and on its website. The Spring

2020 Semester Course Catalog indicated classes would be administered in an in-person, on-campus
setting. The Course Catalog did not make any reference to the administration of courses in an online

format.

          75.   Defendant has failed to provide the contracted for services and has otherwise not

performed under the contract as set forth above by failing to provide in-person educational services.

          76.   Defendant has retained monies paid by Plaintiff and the Class for their Spring 2020

Semester tuition and fees, without providing them the benefit of their bargain.

          77.   Plaintiff and the Class Members have suffered damage as a direct and proximate result

of Defendant’s breach, including, but not limited to, being deprived of the education, experience and
services to which they were promised and for which they have already paid.


                                                 22
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 23 of 28
                E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        78.     As a direct and proximate result of Defendant’s breach, Plaintiff and the Class

Members are entitled to damages, to be decided by the trier of fact in this action, to include but not be

limited to reimbursement of certain tuition, fees and other expenses that were collected by Defendant

for services that it did not provide.

        79.     Defendant’s performance under the contract is not excused due to COVID-19, and all

conditions precedent to bringing this action, if any, have been satisfied or waived.

        80.     Indeed, Defendant should return the pro-rated portion of any Spring 2020 Semester

tuition and fees for education services not provided since St. Ambrose University shut down on March

29, 2020.

        81.     Even if performance was excused or impossible, Defendant would nevertheless be

required to return the funds received for services it will not provide.

        82.     Therefore, Defendant should return a pro-rata share of the tuition and fees paid by

Plaintiff and Class Members that relate to those in-person educational services that were not provided

after St. Ambrose University shut down on or about March 29, 2020. In-person educational services

were not provided for approximately approximately 50% of the Spring 2020 Semester.

                                              CLAIM II
                                          Unjust Enrichment
                        (By Plaintiff, Individually and on Behalf of the Class,
                          Against Defendant in the Alternative to Claim I)
        83.     Plaintiff hereby incorporates by reference the allegations contained in paragraphs 1 to
61 of this complaint.

        84.     Plaintiff brings this claim individually and on behalf of the members of the proposed

Class against Defendant in the alternative to Claim I, to the extent there is no contract governing the

subject matter of this dispute.

        85.     Plaintiff and the Class Members conferred a benefit on Defendant in the form of

monies paid for Spring 2020 Semester tuition and other fees in exchange for certain services,

experiences and activities.




                                                   23
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 24 of 28
                  E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        86.       Tuition for Spring 2020 Semester was intended to cover in-person educational

services from January through May 2020. In exchange for tuition monies paid, Class Members were

entitled to in-person educational services through the end of the Spring Semester.

        87.       Defendant voluntarily accepted and retained this benefit by accepting payment.

        88.       Defendant has retained this benefit even though Defendant has failed to provide the

education, experience and services for which the tuition and fees were collected, making Defendant’s

retention unjust under the circumstances.

        89.       Accordingly, Defendant should return the pro-rated portion of any Spring 2020

Semester tuition and fees for education services not provided since St. Ambrose University shut down

on March 29, 2020.

        90.       It would be unjust and inequitable for Defendant to retain the benefit and Defendant

should be required to disgorge this unjust enrichment.

        91.       Defendant should be required to disgorge all profits resulting from such overpayments

and establishment of a constructive trust from which Plaintiff and Class Members may seek

restitution.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

        a. An order determining that this action may be maintained as a class action

               pursuant to Rule 1.261 et seq. of the Iowa Rules of Civil Procedure, and

               declaring Plaintiff as the representative of the Class and her counsel as

               counsel for the Class;

        b. For an order finding in favor of Plaintiff and the Class on all counts

               asserted herein;

        c. For compensatory and punitive damages in amounts to be determined by
               the Court and/or jury;



                                                    24
     Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 25 of 28
                E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




        d. For prejudgment interest on all amounts awarded;

        e. For an order of restitution and all other forms of equitable monetary relief;

        f. For injunctive relief as pleaded or as the Court may deem proper and

        g. For an order awarding Plaintiff and the Class reasonable attorneys’ fees

            and expenses and costs of suit.


                                    DEMAND FOR JURY TRIAL

        Pursuant to Iowa Rule of Civil Procedure 1.902, Plaintiff demands a trial by jury on all
issues in this action so triable.

Dated: May 21, 2021                            Respectfully submitted,



                                               /s/ J. Barton Goplerud
                                               J. Barton Goplerud, AT0002983
                                               Brian O. Marty, AT0011622
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                                               *Pro Hac Vice Application Forthcoming

                                               Counsel for Plaintiff and the Putative Class




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      Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 26 of 28
                E-FILED 2021 MAY 21 2:47 PM SCOTT - CLERK OF DISTRICT COURT




                  IN THE IOWA DISTRICT COURT OF SCOTT COUNTY


 YESENIA MONTELONGO, on behalf of Case No.: ______________
 herself and all others similarly situated,

         Plaintiff,

 v.                                                      ORIGINAL NOTICE
 ST. AMBROSE UNIVERSITY,

         Defendant.


TO EACH OF THE ABOVE-NAMED DEFENDANT:

         You are hereby notified that there is now on file in the office of the Clerk of the above court a
Petition in the above-entitled action, a copy of which is attached hereto (along with copies of any documents
filed with it). The Plaintiffs’ attorneys are J. Barton Goplerud and Brian O. Marty of the law firm of
Shindler, Anderson, Goplerud & Weese, P.C., whose address is 5015 Grand Ridge Drive #100, West Des
Moines, Iowa 50265, whose phone number is 515-223-4567, and whose fax number is 515-223-8887.

        Iowa is a state which utilizes electronic filing in all counties. General rules and information on
electronic filing are contained Iowa Court Rules Chapter 16. Information regarding requirements related
to the protection of personal information in court filings is contained in Iowa Court Rules Chapter 16,
Division VI. You must serve a motion or answer within 20 days after service of this Original Notice upon
you by using the Iowa Judicial Branch Electronic Document Management System (EDMS) at
www.iowacourts.state.ia.us/efile, unless you obtain from the court an exemption from electronic filing
requirements. If you do not file your appearance, motion to answer within 20 days from the date you are
served with this Original Notice, judgment by default will be rendered against you for the relief demanded
in the Petition.

                                                  CLERK OF COURT
                                                  Scott County Courthouse
                                                  400 W 4th St.
                                                  Davenport, IA 52801

NOTE: The attorney who is expected to represent the Defendant(s) should be promptly advised by
Defendant(s) of this Original Notice.

If you require the assistance of auxiliary aids or services to participate in court because of a disability,
immediately call your District ADA Coordinator at 563-328-4145. (If you are hearing impaired, call Relay
Iowa TTY at 1-800-735-2942).




                                                     1
               Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 27 of 28
                          E-FILED 2021 MAY 24 8:43 AM SCOTT - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       CVCV301038
                                                                   County         Scott

Case Title           MONTELONGO YESENIA VS ST. AMBROSE UNIVERSITY

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
notices from the court.

For general rules and information on electronic filing, refer to the Iowa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at www.legis.iowa.gov/docs/ACO/CourtRulesChapter/16.pdf.

Court filings are public documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the Iowa
Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (563) 328-4145 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 05/24/2021 08:43:00 AM




District Clerk of Scott         County
 /s/ Cindy Cooksey
Case 3:21-cv-00057-RGE-SBJ Document 1-1 Filed 07/06/21 Page 28 of 28
       E-FILED 2021 JUN 10 8:53 AM SCOTT - CLERK OF DISTRICT COURT
